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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 MABEL ARREDONDO,
                                                     Case No. 3:22-cv-00209-KC
        Plaintiff,

        v.

 PROTECT MY CAR, LLC,

       Defendant.
 ______________________________________ /

             [PROPOSED] ORDER GRANTING DEFENDANT PROTECT MY
             CAR, LLC ’S UNOPPOSED MOTION FOR EXTENSION OF TIME

       THIS MATTER is before the Court upon Defendant Protect My Car, LLC’s Unopposed

Motion for Extension of Time to Respond to Plaintiff Mabel Arredondo’s Complaint (the

“Motion”). Upon review of the Motion, as well as the record in this matter, it is ORDERED AND

ADJUDGED as follows:

       1.      The Motion is GRANTED.

       2.      Defendant Protect My Car, LLC’s deadline to respond to Plaintiff’s Complaint is

extended up to and including August 12, 2022.

       DONE AND ORDERED in Chambers in Fort El Paso, Texas this ___ day of July, 2022.



                                                  _____________________________
                                                  KATHLEEN CARDONE
                                                  UNITED STATES DISTRICT JUDGE
